Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 1 of 51




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                              MIAMI DIVISION


   ALEKSEJ GUBAREV,
   XBT HOLDINGS S.A., and
   WEBZILLA, INC.                                                          Case No.
                                                                       0:17-cv-60426-UU
        Plaintiffs,

   v.

   BUZZFEED, INC. and
   BEN SMITH

        Defendants.


                             DECLARATION OF CONSTANTIN LUCHIAN

   I, Constantin Luchian, do declare and state as follows:

            1.        My name is Constantin Luchian. I am over the age of 18 years. This declaration

   is based on my personal knowledge and my review of Webzilla, Inc.’s business records. All

   statements contained in this declaration are true and correct to the best of my knowledge, if

   called as a witness, I could and would testify as to the facts set forth in this declaration.

            2.        I am a full-time resident of Jupiter, Florida. I have lived in Florida for over 13

   years.

            3.        I am the Financial Director for Plaintiff Webzilla, Inc. (“Webzilla”), which is a

   wholly-owned subsidiary of Plaintiff XBT Holdings S.A. (“XBT”), through an intermediary

   company XBT Holding Ltd.

            4.        I have been the Financial Director of Webzilla since 2009.

            5.        Webzilla is incorporated as a domestic for-profit corporation in Florida and has

   been continuously registered as such with Florida’s Division of Corporations since 2009.




                                                        1
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 2 of 51




   Attached hereto as Exhibit 1 is a true and correct printout of Webzilla’s corporate information

   from Florida’s Division of Corporations website.

          6.      I perform all of my duties as the Financial Director of Webzilla from Florida.

          7.      Since I have been the Financial Director of Webzilla, Webzilla has always

   maintained a physical presence in Florida.

          8.      That Webzilla has a presence in Florida would be obvious to anyone who simply

   looked at the Webzilla.com website. Attached hereto as Exhibit 2 is a true and correct copy of

   the “Contact” page for Webzilla on its website at webzilla.com/contacts.html.

          9.      At all times, Webzilla has maintained one or more physical locations in Florida.

   At various times, that physical location was at a separate office maintained by Webzilla (and

   sublet from executive office space providers such as Regus); sometimes it was as part of my

   company Incorporate Now’s offices; and sometimes it maintained a presence in both locations.

          10.     Although Webzilla temporarily stopped using the address at 110 E. Broward

   Blvd., Suite 1700, Fort Lauderdale, Florida. for a time, it has recently restarted its contract with

   Regus, the company that operates the office spaces at that location that Webzilla leased.

          11.       In any event, though, whenever I was told that mail had arrived at one of

   Webzilla’s Florida offices, I would personally go to the office to pick up the mail, or have it

   forwarded to me in Florida. Even during the year or so that Webzilla did not have an up-to-date

   contract with Regus at the 110 E. Broward Blvd address, when FedEx or UPS made deliveries to

   that address, they knew to contact me and they delivered packages to my company, Incorporate

   Now, which is Webzilla’s registered agent in Florida, at its address at 6750 N. Andrews Ave,

   Suite 200 in Fort Lauderdale, Florida.

          12.     The telephone number listed for Webzilla on its website (+1-954-237-3587) has

   the area code 954, which is an area code for Broward County in Florida.




                                                     2
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 3 of 51




          13.      Webzilla gets its Florida based telephone number from the company Vonage.

   Attached hereto as Exhibit 3 are true and correct copies of Vonage’s bills for Webzilla’s phone

   number, all listing the address at 110 E. Broward Blvd., Suite 1700, Fort Lauderdale, Florida.

          14.      If someone calls the phone number listed for Webzilla on its website, they are

   calling me, in Florida.

          15.      In the past, Webzilla has engaged other personnel based in Florida, including

   Konstantin Bolotin, who was Webzilla’s director of operations through 2013.

          16.      I oversee much of Webzilla’s accounting from Florida.

          17.      Webzilla files tax returns in Florida. A true and correct copy of the first two

   pages of a copy of Webzilla’s last filed tax return in Florida (with sensitive information blacked

   out) and its upload confirmation is attached hereto as Exhibit 4.

          18.      I am the signatory for Webzilla on its Florida tax returns.

          19.      Since 2009, Webzilla has maintained a bank account in Florida with Bank of

   America.

          20.      I am a signatory of Webzilla’s bank account in Florida.

          21.      Webzilla’s Registered Agent is Incorporate Now, with an address at 6750 N.

   Andrews Ave, Suite 200 in Fort Lauderdale, Florida.

          22.      I am an owner, employee and director of Incorporate Now, the registered agent

   for Webzilla, and when any documents are provided to Webzilla at its registered agent address, I

   handle those documents.

          23.      I am also Webzilla’s registered agent to receive notifications of claimed

   infringement as registered with the United States Copyright Office. Attached hereto as Exhibit 5

   is a true copy of that designation filed with the Copyright Office and pulled from its website.

   The designation lists Webzilla’s address as 110 E. Broward Blvd., Suite 1700, Fort Lauderdale,

   Florida 33301 and lists me as the Agent Designated to Receive Notification of Claimed

   Infringement.


                                                     3
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 4 of 51




          24.     Webzilla has been involved in a number of lawsuits in the courts in Florida. For

   example, Webzilla was named as a defendant in the case Depicto Commercial Ltd. v. Webzilla

   LLC et al, Case No. CACE 13-010329(2) in the Circuit Court of the 17th Judicial Circuit in and

   for Broward County, Florida. Webzilla was also named as a defendant in the case AMA

   Multimedia, LLC v. ERA Technologies, Ltd. et al, Case No. 1:15-cv-24289-FAM (S.D. Fla.) and

   Hydentra, L.P. HLP General Partner, Inc. v. ERA Technologies, Ltd. et al., Case No. 1:15-cv-

   24293-MGC (S.D. Fla.).

          25.     As Webzilla’s Financial Director, I oversee the payments of all invoices to

   Webzilla and other companies in the XBT family and the sending out of invoices for Webzilla

   and other companies in the XBT family to their customers from Florida.

          26.     The XBT family includes two other Florida incorporated companies, Dedicated

   Servers Inc. and IP Transit Inc., both of which use Incorporate Now as their registered agent.

   Both Dedicated Servers Inc. and IP Transit Inc. receive correspondence and bills to addresses in

   Florida. Attached hereto as Exhibit 6 is a true and correct printout of Dedicated Servers Inc.’s

   corporate information from Florida’s Division of Corporations website. Attached hereto as

   Exhibit 7 is a true and correct printout of IP Transit Inc.’s corporate information from Florida’s

   Division of Corporations website

          27.     Attached hereto as Exhibit 8 is true and correct printout of IP Transit’s website,

   which also shows a Florida address and Florida telephone number.

          28.     Webzilla has clients in Florida, including, without limitation, ServerClub

   Inc/Fresh IT Solutions, with an address in Fort Lauderdale, Florida, and 1405 Martin Clary, with

   an address in Clearwater, Florida.

          29.     On January 10, 2017, Buzzfeed published an online article titled “These Reports

   Allege Trump Has Deep Ties to Russia” (the “Defamatory Article”) that contained a “dossier” of

   information supposedly compiled by a private security company. When I read the Defamatory




                                                    4
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 5 of 51




   Article, I was in Florida and I was shocked to find that it made statements about Webzilla, XBT

   and Alexsej Gubarev (XBT’s Chairman, CEO and director).




                                                  5
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 6 of 51




   Signed under the pains and penalties of perjury this 27th day of March, 2017.




                                                       ________________________________

                                                       Constantin Luchian




                                                  6
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 7 of 51




                                Exhibit
                                  1
       Case 0:17-cv-60426-UU
3/25/2017                                      Document 21-12 Entered       onName
                                                              Detail by Entity  FLSD Docket 03/27/2017 Page 8 of 51
 Florida Department of State                                                                                            D ퟚ�埛�ퟌ�  ퟌ� ࠄ C ퟌ� �洄ퟌ� �焄ោ�ퟌ� 埛�




      Department of State / Division of Corporations / Search Records / Detail By Document Number /



         Detail by Entity Name
         Florida Profit Corporation
         WEBZILLA INC.
         Filing Information

         Document Number                  P09000064327
         FEI/EIN Number                   N/A
         Date Filed                       07/29/2009
         Effective Date                   07/29/2009
         State                            FL
         Status                           ACTIVE
         Last Event                       AMENDMENT
         Event Date Filed                 07/16/2012
         Event Effective Date             NONE
         Principal Address

         2777 Stemmons Fwy.
         Suite 1655
         Dallas, TX 75207

         Changed: 01/17/2014
         Mailing Address

         2777 Stemmons Fwy.
         Suite 1655
         Dallas, TX 75207

         Changed: 01/17/2014
         Registered Agent Name & Address

         INCORPORATE NOW
         6750 N. Andrews Ave.
         Suite 200
         Fort Lauderdale, FL 33309

         Name Changed: 03/01/2010

         Address Changed: 03/31/2013
         Officer/Director Detail

         Name & Address

         Title D
http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=WEBZILLA%20P09… 1/2
       Case 0:17-cv-60426-UU
3/25/2017                                       Document 21-12 Entered       onName
                                                               Detail by Entity  FLSD Docket 03/27/2017 Page 9 of 51

         Mishara, Rajesh Kumar
         2777 Stemmons Fwy.
         Suite 1655
         Dallas, TX 75207

         Title D

         Bezruchenko, Kostyantyn
         2777 Stemmons Fwy.
         Suite 1655
         Dallas, TX 75207


         Annual Reports

         Report Year               Filed Date
         2014                      01/17/2014
         2015                      02/04/2015
         2016                      02/23/2016


         Document Images

         02/23/2016 ­­ ANNUAL REPORT        View image in PDF format

         02/04/2015 ­­ ANNUAL REPORT        View image in PDF format

         01/17/2014 ­­ ANNUAL REPORT        View image in PDF format

         03/31/2013 ­­ ANNUAL REPORT        View image in PDF format

         07/16/2012 ­­ Amendment            View image in PDF format

         02/20/2012 ­­ ANNUAL REPORT        View image in PDF format

         04/19/2011 ­­ ANNUAL REPORT        View image in PDF format

         11/08/2010 ­­ Amendment            View image in PDF format

         04/05/2010 ­­ Amendment            View image in PDF format

         03/01/2010 ­­ ANNUAL REPORT        View image in PDF format

         07/29/2009 ­­ Domestic Profit      View image in PDF format




                                                            Florida Department of State, Division of Corporations




http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=WEBZILLA%20P09… 2/2
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 10 of 51




                                 Exhibit
                                   2
      Case 0:17-cv-60426-UU
3/20/2017                                  Document 21-12   Entered
                                                       Contact            on FLSD
                                                               Sales and Support        Docket 03/27/2017 Page 11 of 51
                                                                                 | Webzilla

                                                                         Sales +31.20.893.2774        EMAIL       LOG IN




                                                           Dedicated    Cloud             Services             Company            Contact
                                                           Servers        NEW




                                                  Contact Information


Home > Contact




Contact Webzilla
Corporate
Europe                                                                    North America
WEBZILLA Europe                                                           WEBZILLA INC.
Srtawinskylaan 601, 1077XX Amsterdam, The Netherlands                     110 E. Broward Blvd., Suite 1700, Fort Lauderdale, FL 33301, USA
Phone            +31.20.893.2774                                          Phone           +1.954.237.3587



Europe
WEBZILLA Limited (Cyprus)
53-55 Agios Athanasios Street, 2nd Floor, Limassol, 4102
Phone            +357.25.345.346


Sales                                                                     Support
Email            sales@webzilla.com                                       Email           support@webzilla.com
Chat             Live Chat                                                Chat            Live Chat
Skype            awebzilla


Billing Department                                                        Acceptable Use Policy
Email            billing@webzilla.com                                     Email           legal@webzilla.com


Media Inquiries
Email            pr@webzilla.com




Contact Form
Please fill out the form below to be connected to Webzilla.

First Name *                                                           Last Name *


Email *                                                                Phone



http://webzilla.com/contacts.html                                                                                                            1/2
      Case 0:17-cv-60426-UU
3/20/2017                                          Document 21-12   Entered
                                                               Contact            on FLSD
                                                                       Sales and Support        Docket 03/27/2017 Page 12 of 51
                                                                                         | Webzilla

Company                                                                               Department     Sales


Comments




                        SUBMIT




WE ARE HERE FOR YOU 24/7/365                                  SALES +31.20.893.2774                        LIVE CHAT               EMAIL US




                                                      WEBZILLA           SERVICES                  SALES CONTACTS               SUPPORT CONTACTS

                                                      About Us           Dedicated Servers         Phone   +31.20.893.2774      Email   support@webzilla.com

                                                      Network            Cloud                     Email   sales@webzilla.com   Chat    Live Chat
                                                      Infrastructure     Colocation                Chat    Live Chat
                                                                         Managed Services          Skype   awebzilla
                                                                         CDN


                                                      MEDIA              LINKS                     FOLLOW US

                                                          Newsroom       XBT Holding Website




© 2005 - 2016 Webzilla Enterprise Hosting | Sitemap | Legal




http://webzilla.com/contacts.html                                                                                                                          2/2
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 13 of 51




                                 Exhibit
                                   3
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 14 of 51
                                                                                 Page 1 of     4




    Summary of Charges




    Billing Name:         CONSTANTIN LUCHIAN       Account #:     1008059988
    Billing Address: 110 E Broward Blvd            Billing Period: 12/27/2016-01/26/2017
                     Suite 1700
                     Fort Lauderdale, FL 33301
                     UNITED STATES




    Your charges for this period:



      $95.53                                   Monthly Charges                        $63.97

    This bill cycle ended on 01/26/2017        Surcharges                             $14.94

                                               Government Mandated Taxes
                 Questions about your bill?                                           $16.62
                                               & Fees
                 Visit us at www.vonage.com
                                               Final Balance                          $95.53




    www.vonage.com                                                         03/21/2017 02:20 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 15 of 51
                                                                                    Page 2 of   4


                                                                 Charges for 12/27/2016-01/26/2017

                                                                 Account #:            1008059988




    Monthly Charges                                                                     $63.97
     Residential Premium Unlimited Plan for 1-(954)-237-3587 (27/Jan-                    $25.99
     26/Feb)
     Basic Residential FAX Plan for 1-(954)-302-2771 (27/Jan-26/Feb)                       $9.99
     Vonage World Plan - Additional Line for 1-(954)-333-8989 (27/Jan-                   $27.99
     26/Feb)




    Usage Summary

      (954) 237-3587
      In Plan Minutes
         16 Domestic In Plan Minutes Used
         0 Vonage to Vonage Minutes Used
      Charged Calls
         You have no charged calls for this period.
      (954) 302-2771
      In Plan Minutes
         You have not used any In Plan Minutes in this period.
      Charged Calls
         You have no charged calls for this period.
      (954) 333-8989
      In Plan Minutes
         25 Domestic In Plan Minutes Used
         0 International In Plan Minutes Used
         0 Vonage to Vonage Minutes Used




    www.vonage.com                                                            03/21/2017 02:20 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 16 of 51
                                                                               Page 3 of   4


                                                            Charges for 12/27/2016-01/26/2017

                                                            Account #:            1008059988




    Usage Summary            (Continued)

      Charged Calls
         You have no charged calls for this period.



    Surcharges                                                                     $14.94

     Regulatory, Compliance and Intellectual Property Fee                             $8.97
     Emergency 911 and Information Services Fee                                       $5.97




    Government Mandated Taxes & Fees                                               $16.62

     State 911 Fee                                                                    $1.20
     Sales Tax                                                                        $0.00
     Federal Program                                                                  $8.76
     State Gross Receipts Surcharge                                                   $2.08
     Local Communications Service Tax                                                 $4.58




    Final Balance                                                                  $95.53

     Final Balance                                                                  $95.53




    www.vonage.com                                                       03/21/2017 02:20 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 17 of 51
                                                                         Page 4 of   4


                                                      Charges for 12/27/2016-01/26/2017

                                                      Account #:            1008059988




    Charged Calls:                                                             $0.00




    www.vonage.com                                                 03/21/2017 02:20 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 18 of 51
                                                                                 Page 1 of     4




    Summary of Charges




    Billing Name:         CONSTANTIN LUCHIAN       Account #:     1008059988
    Billing Address: 110 E Broward Blvd            Billing Period: 01/27/2016-02/26/2016
                     Suite 1700
                     Fort Lauderdale, FL 33301
                     UNITED STATES




    Your charges for this period:



      $96.80                                   Monthly Charges                        $63.97

    This bill cycle ended on 02/26/2016        Surcharges                             $14.94

                                               Government Mandated Taxes
                 Questions about your bill?                                           $17.89
                                               & Fees
                 Visit us at www.vonage.com
                                               Final Balance                          $96.80




    www.vonage.com                                                         03/21/2017 02:22 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 19 of 51
                                                                                    Page 2 of   4


                                                                 Charges for 01/27/2016-02/26/2016

                                                                 Account #:            1008059988




    Monthly Charges                                                                     $63.97
     Residential Premium Unlimited Plan for 1-(954)-237-3587 (27/Feb-                    $25.99
     26/Mar)
     Basic Residential FAX Plan for 1-(954)-302-2771 (27/Feb-26/Mar)                       $9.99
     Vonage World Plan - Additional Line for 1-(954)-333-8989 (27/Feb-                   $27.99
     26/Mar)




    Usage Summary

      (954) 237-3587
      In Plan Minutes
         2 Domestic In Plan Minutes Used
         0 Vonage to Vonage Minutes Used
      Charged Calls
         You have no charged calls for this period.
      (954) 302-2771
      In Plan Minutes
         You have not used any In Plan Minutes in this period.
      Charged Calls
         You have no charged calls for this period.
      (954) 333-8989
      In Plan Minutes
         14 Domestic In Plan Minutes Used
         0 International In Plan Minutes Used
         0 Vonage to Vonage Minutes Used




    www.vonage.com                                                            03/21/2017 02:22 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 20 of 51
                                                                               Page 3 of   4


                                                            Charges for 01/27/2016-02/26/2016

                                                            Account #:            1008059988




    Usage Summary            (Continued)

      Charged Calls
         You have no charged calls for this period.



    Surcharges                                                                     $14.94

     Regulatory, Compliance and Intellectual Property Fee                             $8.97
     Emergency 911 and Information Services Fee                                       $5.97




    Government Mandated Taxes & Fees                                               $17.89

     State 911 Fee                                                                    $1.20
     Sales Tax                                                                        $0.00
     Federal Program                                                                  $9.94
     State Gross Receipts Surcharge                                                   $2.11
     Local Communications Service Tax                                                 $4.64




    Final Balance                                                                  $96.80

     Final Balance                                                                  $96.80




    www.vonage.com                                                       03/21/2017 02:22 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 21 of 51
                                                                         Page 4 of   4


                                                      Charges for 01/27/2016-02/26/2016

                                                      Account #:            1008059988




    Charged Calls:                                                             $0.00




    www.vonage.com                                                 03/21/2017 02:22 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 22 of 51
                                                                                 Page 1 of     4




    Summary of Charges




    Billing Name:         CONSTANTIN LUCHIAN       Account #:     1008059988
    Billing Address: 110 E Broward Blvd            Billing Period: 01/27/2017-02/26/2017
                     Suite 1700
                     Fort Lauderdale, FL 33301
                     UNITED STATES




    Your charges for this period:



      $95.53                                   Monthly Charges                        $63.97

    This bill cycle ended on 02/26/2017        Surcharges                             $14.94

                                               Government Mandated Taxes
                 Questions about your bill?                                           $16.62
                                               & Fees
                 Visit us at www.vonage.com
                                               Final Balance                          $95.53




    www.vonage.com                                                         03/21/2017 02:20 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 23 of 51
                                                                                    Page 2 of   4


                                                                 Charges for 01/27/2017-02/26/2017

                                                                 Account #:            1008059988




    Monthly Charges                                                                     $63.97
     Residential Premium Unlimited Plan for 1-(954)-237-3587 (27/Feb-                    $25.99
     26/Mar)
     Basic Residential FAX Plan for 1-(954)-302-2771 (27/Feb-26/Mar)                       $9.99
     Vonage World Plan - Additional Line for 1-(954)-333-8989 (27/Feb-                   $27.99
     26/Mar)




    Usage Summary

      (954) 237-3587
      In Plan Minutes
         12 Domestic In Plan Minutes Used
         0 Vonage to Vonage Minutes Used
      Charged Calls
         You have no charged calls for this period.
      (954) 302-2771
      In Plan Minutes
         You have not used any In Plan Minutes in this period.
      Charged Calls
         You have no charged calls for this period.
      (954) 333-8989
      In Plan Minutes
         21 Domestic In Plan Minutes Used
         0 International In Plan Minutes Used
         0 Vonage to Vonage Minutes Used




    www.vonage.com                                                            03/21/2017 02:20 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 24 of 51
                                                                               Page 3 of   4


                                                            Charges for 01/27/2017-02/26/2017

                                                            Account #:            1008059988




    Usage Summary            (Continued)

      Charged Calls
         You have no charged calls for this period.



    Surcharges                                                                     $14.94

     Regulatory, Compliance and Intellectual Property Fee                             $8.97
     Emergency 911 and Information Services Fee                                       $5.97




    Government Mandated Taxes & Fees                                               $16.62

     State 911 Fee                                                                    $1.20
     Sales Tax                                                                        $0.00
     Federal Program                                                                  $8.76
     State Gross Receipts Surcharge                                                   $2.08
     Local Communications Service Tax                                                 $4.58




    Final Balance                                                                  $95.53

     Final Balance                                                                  $95.53




    www.vonage.com                                                       03/21/2017 02:20 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 25 of 51
                                                                         Page 4 of   4


                                                      Charges for 01/27/2017-02/26/2017

                                                      Account #:            1008059988




    Charged Calls:                                                             $0.00




    www.vonage.com                                                 03/21/2017 02:20 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 26 of 51
                                                                                              Page 1 of     4




    Estimated Charges




    Billing Name:        CONSTANTIN LUCHIAN               Account #:        1008059988
    Billing Address: 110 E Broward Blvd                   Billing Period: 02/27/2017-03/26/2017
                     Suite 1700                                           (Current)
                     Fort Lauderdale, FL 33301
                     UNITED STATES




    Your estimated charges as of 03/21/2017:1



                                                    Last payment
      $95.53                                                                                       $95.53
                                                    (posted on 02/27/2017)

    There are 6 days remaining in your current      Monthly Charges                                $63.97
    bill cycle

      Next Automatic Payment                        Usage Charges                                   $0.00

      Scheduled Date:    03/27/2017                 Surcharges                                     $14.94
      Payment Method: American Express              Government Mandated Taxes
                                                                                                   $16.62
                      xxxxxxxxxxx1007               & Fees

                                                    Estimated Charges                              $95.53
                Questions about your bill?

                Visit us at www.vonage.com




    1 Current Estimated Charges: Total estimated charges to date. Charges may vary from actual monthly bill,

    depending on your usage and any changes made to your account between now and the end of your billing
    cycle.See Billing FAQs for more information.




    www.vonage.com                                                                     03/21/2017 02:16 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 27 of 51
                                                                                    Page 2 of   4


                                                       Estimated Charges for 02/27/2017-03/26/2017

                                                                 Account #:            1008059988




    Last Payment                                                                        $95.53
    Your last payment of $95.53 was posted on 02/27/2017. Thank You !



    Monthly Charges                                                                     $63.97

     Vonage World Plan - Additional Line for 1-(954)-333-8989                            $27.99
     Residential Premium Unlimited Plan for 1-(954)-237-3587                             $25.99
     Basic Residential FAX Plan for 1-(954)-302-2771                                       $9.99




    Current Usage Summary                                                                 $0.00

      (954) 237-3587 Residential Premium Unlimited
      In Plan Minutes
         18 Domestic Minutes Used
         0 Vonage to Vonage Minutes Used
      Charged Calls
         You have no charged calls for this period.
      (954) 333-8989 Vonage World
      In Plan Minutes
         19 Domestic Minutes Used
         0 International Minutes Used
         0 Vonage to Vonage Minutes Used
      Charged Calls
         You have no charged calls for this period.




    www.vonage.com                                                            03/21/2017 02:16 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 28 of 51
                                                                                      Page 3 of   4


                                                         Estimated Charges for 02/27/2017-03/26/2017

                                                                   Account #:            1008059988




    Current Usage Summary               (Continued)                                         $0.00

      (954) 302-2771 Vonage Fax
      In Plan Minutes
         You have not used any In Plan Minutes in this period.
      Charged Calls
         You have no charged calls for this period.



    Surcharges                                                                            $14.94

     Emergency 911 and Information Services Fee                                              $5.97
     Regulatory, Compliance and Intellectual Property Fee                                    $8.97




    Government Mandated Taxes & Fees                                                      $16.62

     State 911 Fee                                                                           $1.20
     Local Communications Service Tax                                                        $4.58
     Federal Program Fee                                                                     $8.76
     State Gross Receipts Surcharge                                                          $2.08




    Current Estimated Charges                                                             $95.53

     Current Estimated Charges                                                             $95.53




    www.vonage.com                                                              03/21/2017 02:16 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 29 of 51
                                                                           Page 4 of   4


                                              Estimated Charges for 02/27/2017-03/26/2017

                                                        Account #:            1008059988




    Charged Calls:                                                               $0.00




    www.vonage.com                                                   03/21/2017 02:16 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 30 of 51
                                                                                 Page 1 of     4




    Summary of Charges




    Billing Name:         CONSTANTIN LUCHIAN       Account #:     1008059988
    Billing Address: 110 E Broward Blvd            Billing Period: 06/27/2016-07/26/2016
                     Suite 1700
                     Fort Lauderdale, FL 33301
                     UNITED STATES




    Your charges for this period:



      $96.80                                   Monthly Charges                        $63.97

    This bill cycle ended on 07/26/2016        Surcharges                             $14.94

                                               Government Mandated Taxes
                 Questions about your bill?                                           $17.89
                                               & Fees
                 Visit us at www.vonage.com
                                               Final Balance                          $96.80




    www.vonage.com                                                         03/21/2017 02:21 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 31 of 51
                                                                                     Page 2 of   4


                                                                 Charges for 06/27/2016-07/26/2016

                                                                  Account #:           1008059988




    Monthly Charges                                                                      $63.97
     Residential Premium Unlimited Plan for 1-(954)-237-3587 (27/Jul-                     $25.99
     26/Aug)
     Basic Residential FAX Plan for 1-(954)-302-2771 (27/Jul-26/Aug)                        $9.99
     Vonage World Plan - Additional Line for 1-(954)-333-8989 (27/Jul-                    $27.99
     26/Aug)




    Usage Summary

      (954) 237-3587
      In Plan Minutes
         4 Domestic In Plan Minutes Used
         0 Vonage to Vonage Minutes Used
      Charged Calls
         You have no charged calls for this period.
      (954) 302-2771
      In Plan Minutes
         You have not used any In Plan Minutes in this period.
      Charged Calls
         You have no charged calls for this period.
      (954) 333-8989
      In Plan Minutes
         19 Domestic In Plan Minutes Used
         0 International In Plan Minutes Used
         0 Vonage to Vonage Minutes Used




    www.vonage.com                                                             03/21/2017 02:21 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 32 of 51
                                                                               Page 3 of   4


                                                            Charges for 06/27/2016-07/26/2016

                                                            Account #:            1008059988




    Usage Summary            (Continued)

      Charged Calls
         You have no charged calls for this period.



    Surcharges                                                                     $14.94

     Regulatory, Compliance and Intellectual Property Fee                             $8.97
     Emergency 911 and Information Services Fee                                       $5.97




    Government Mandated Taxes & Fees                                               $17.89

     State 911 Fee                                                                    $1.20
     Sales Tax                                                                        $0.00
     Federal Program                                                                  $9.94
     State Gross Receipts Surcharge                                                   $2.11
     Local Communications Service Tax                                                 $4.64




    Final Balance                                                                  $96.80

     Final Balance                                                                  $96.80




    www.vonage.com                                                       03/21/2017 02:21 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 33 of 51
                                                                         Page 4 of   4


                                                      Charges for 06/27/2016-07/26/2016

                                                      Account #:            1008059988




    Charged Calls:                                                             $0.00




    www.vonage.com                                                 03/21/2017 02:21 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 34 of 51
                                                                                 Page 1 of     4




    Summary of Charges




    Billing Name:         CONSTANTIN LUCHIAN       Account #:     1008059988
    Billing Address: 110 E Broward Blvd            Billing Period: 09/27/2015-10/26/2015
                     Suite 1700
                     Fort Lauderdale, FL 33301
                     UNITED STATES




    Your charges for this period:



      $95.44                                   Monthly Charges                        $63.97

    This bill cycle ended on 10/26/2015        Surcharges                             $14.94

                                               Government Mandated Taxes
                 Questions about your bill?                                           $16.53
                                               & Fees
                 Visit us at www.vonage.com
                                               Final Balance                          $95.44




    www.vonage.com                                                         03/21/2017 02:23 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 35 of 51
                                                                                    Page 2 of   4


                                                                 Charges for 09/27/2015-10/26/2015

                                                                 Account #:            1008059988




    Monthly Charges                                                                     $63.97
     Residential Premium Unlimited Plan for 1-(954)-237-3587 (27/Oct-                    $25.99
     26/Nov)
     Basic Residential FAX Plan for 1-(954)-302-2771 (27/Oct-26/Nov)                       $9.99
     Vonage World Plan - Additional Line for 1-(954)-333-8989 (27/Oct-                   $27.99
     26/Nov)




    Usage Summary

      (954) 237-3587
      In Plan Minutes
         17 Domestic In Plan Minutes Used
         0 Vonage to Vonage Minutes Used
      Charged Calls
         You have no charged calls for this period.
      (954) 302-2771
      In Plan Minutes
         You have not used any In Plan Minutes in this period.
      Charged Calls
         You have no charged calls for this period.
      (954) 333-8989
      In Plan Minutes
         8 Domestic In Plan Minutes Used
         0 International In Plan Minutes Used
         0 Vonage to Vonage Minutes Used




    www.vonage.com                                                            03/21/2017 02:23 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 36 of 51
                                                                               Page 3 of   4


                                                            Charges for 09/27/2015-10/26/2015

                                                            Account #:            1008059988




    Usage Summary            (Continued)

      Charged Calls
         You have no charged calls for this period.



    Surcharges                                                                     $14.94

     Regulatory, Compliance and Intellectual Property Fee                             $8.97
     Emergency 911 and Information Services Fee                                       $5.97




    Government Mandated Taxes & Fees                                               $16.53

     State 911 Fee                                                                    $1.20
     Sales Tax                                                                        $0.00
     Federal Program                                                                  $8.68
     State Gross Receipts Surcharge                                                   $2.08
     Local Communications Service Tax                                                 $4.57




    Final Balance                                                                  $95.44

     Final Balance                                                                  $95.44




    www.vonage.com                                                       03/21/2017 02:23 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 37 of 51
                                                                         Page 4 of   4


                                                      Charges for 09/27/2015-10/26/2015

                                                      Account #:            1008059988




    Charged Calls:                                                             $0.00




    www.vonage.com                                                 03/21/2017 02:23 PM
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 38 of 51




                                 Exhibit
                                   4
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 39 of 51
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 40 of 51
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 41 of 51
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 42 of 51




                                 Exhibit
                                   5
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 43 of 51
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 44 of 51




                                 Exhibit
                                   6
      Case 0:17-cv-60426-UU
3/25/2017                                    Document 21-12 Entered      onName
                                                             Detail by Entity FLSD Docket 03/27/2017 Page 45 of 51
 Florida Department of State                                                                                           D ‫܀܀܀܀܀‬穁� ‫ ܀‬穁� 礁� C 穁� ‫܀܀‬穁� ‫܀‬码�‫܀܀‬穁� ‫܀܀‬




      Department of State / Division of Corporations / Search Records / Detail By Document Number /



         Detail by Entity Name
         Florida Profit Corporation
         DEDICATED SERVERS INC
         Filing Information

         Document Number                  P11000039978
         FEI/EIN Number                   N/A
         Date Filed                       04/25/2011
         State                            FL
         Status                           ACTIVE
         Last Event                       AMENDMENT
         Event Date Filed                 07/16/2012
         Event Effective Date             NONE
         Principal Address

         2777 Stemmons Fwy.
         Suite 1655
         Dallas, FL 75207

         Changed: 01/18/2014
         Mailing Address

         2777 Stemmons Fwy.
         Suite 1655
         Dallas, FL 75207

         Changed: 01/18/2014
         Registered Agent Name & Address

         INCORPORATED NOW INC
         6750 N. Andrews Ave.
         Suite 200
         Fort Lauderdale, FL 33309

         Address Changed: 02/04/2015
         Officer/Director Detail

         Name & Address

         Title D

         MISHRA, RAJESH K
         2777 N Stemmons Fwy.
         Suite 1655
http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=DEDICATEDSERV… 1/2
      Case 0:17-cv-60426-UU
3/25/2017                                   Document 21-12 Entered      onName
                                                            Detail by Entity FLSD Docket 03/27/2017 Page 46 of 51
         Suite 1655
         Dallas, TX 75207


         Annual Reports

         Report Year               Filed Date
         2014                      01/18/2014
         2015                      02/04/2015
         2016                      03/24/2016


         Document Images

         03/24/2016 ­­ ANNUAL REPORT        View image in PDF format

         02/04/2015 ­­ ANNUAL REPORT        View image in PDF format

         01/18/2014 ­­ ANNUAL REPORT        View image in PDF format

         03/30/2013 ­­ ANNUAL REPORT        View image in PDF format

         07/16/2012 ­­ Amendment            View image in PDF format

         02/22/2012 ­­ ANNUAL REPORT        View image in PDF format

         04/25/2011 ­­ Domestic Profit      View image in PDF format




                                                            Florida Department of State, Division of Corporations




http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=DEDICATEDSERV… 2/2
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 47 of 51




                                 Exhibit
                                   7
      Case 0:17-cv-60426-UU
3/25/2017                                    Document 21-12 Entered      onName
                                                             Detail by Entity FLSD Docket 03/27/2017 Page 48 of 51
 Florida Department of State                                                                                            D �ࠀ�殂��ࠀ ࠀ ࠀ ࠀ C ࠀ ࠀ櫂�ࠀ ࠀ梂�ࠀ�ࠀ ࠀ殂�




      Department of State / Division of Corporations / Search Records / Detail By Document Number /



         Detail by Entity Name
         Florida Profit Corporation
         IP TRANSIT INC
         Filing Information

         Document Number                  P09000064840
         FEI/EIN Number                   N/A
         Date Filed                       07/30/2009
         Effective Date                   04/17/2008
         State                            FL
         Status                           ACTIVE
         Last Event                       AMENDMENT
         Event Date Filed                 05/24/2010
         Event Effective Date             NONE
         Principal Address

         2777 Stemmons Fwy.
         Suite 1655
         Dallas, TX 75207

         Changed: 01/17/2014
         Mailing Address

         2777 Stemmons Fwy.
         Suite 1655
         Dallas, TX 75207

         Changed: 01/17/2014
         Registered Agent Name & Address

         INCORPORATE NOW INC.
         6750 N. Andrews Ave.
         Suite 200
         Fort Lauderdale, FL 33309

         Name Changed: 02/28/2010

         Address Changed: 03/31/2013
         Officer/Director Detail

         Name & Address

         Title VP
http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=IPTRANSIT%20P0… 1/2
      Case 0:17-cv-60426-UU
3/25/2017                                   Document 21-12 Entered      onName
                                                            Detail by Entity FLSD Docket 03/27/2017 Page 49 of 51

         Bezruchenko, Kostyantyn
         2777 Stemmons Fwy.
         Suite 1655
         Dallas, TX 75207


         Annual Reports

         Report Year               Filed Date
         2014                      01/17/2014
         2015                      02/04/2015
         2016                      02/23/2016


         Document Images

         02/23/2016 ­­ ANNUAL REPORT        View image in PDF format

         02/04/2015 ­­ ANNUAL REPORT        View image in PDF format

         01/17/2014 ­­ ANNUAL REPORT        View image in PDF format

         03/31/2013 ­­ ANNUAL REPORT        View image in PDF format

         02/22/2012 ­­ ANNUAL REPORT        View image in PDF format

         04/19/2011 ­­ ANNUAL REPORT        View image in PDF format

         05/24/2010 ­­ Amendment            View image in PDF format

         02/28/2010 ­­ ANNUAL REPORT        View image in PDF format

         07/30/2009 ­­ Domestic Profit      View image in PDF format




                                                            Florida Department of State, Division of Corporations




http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=IPTRANSIT%20P0… 2/2
Case 0:17-cv-60426-UU Document 21-12 Entered on FLSD Docket 03/27/2017 Page 50 of 51




                                 Exhibit
                                   8
      Case 0:17-cv-60426-UU
3/23/2017                                          DocumentIP21-12      Entered
                                                              Transit Network Serviceon FLSD
                                                                                     Provider       Docket
                                                                                              | IP Transit Inc 03/27/2017 Page 51 of 51


                                                                                                                                       Contact us         Sales   Support




                                                                                                      Home        IP Transit       Transport        CDN           Peering




      Office Information                           IP Transit network
      IP Transit Inc
      110 E. Broward Blvd.                         The network of IP Transit has been built from scratch and is designed for the lowest latencies, fewest hops,
      Suite 1700
                                                   reliability and stable round trip times.
      Fort Lauderdale, FL 33301
      USA
                                                   IP Transit Networks provide a Multihomed IP­transit service providing the best route selection for your
      Tel: 954 333 8989                            destination to the Internet with built­in redundancy and fault tolerance, offering carrier­grade service to telecom
      Fax: +31 303 100 299                         operators, Internet service providers (ISP), Application Service Providers (ASP), content players, and other
      Email: sales@iptransit.com                   users demanding high­quality performance and connectivity into the Internet backbone and major eyeball
                                                   networks.

                                                   You are looking for robust IP Transit services that provide speed, rock­solid dependability, flexibility and route
                                                   efficiency through our pure IP fiber backbone, that we can provide with an IP address allocation or as a BGP
                                                   feed.

                                                   As IP Transit Networks are designed to stay ahead of bandwidth requirements resulting from the projected
                                                   growth in global IP traffic, we are ready to meet your current capacity needs and grow with your business as
                                                   traffic increases, by offering low latency connectivity that scales.

                                                   IP Transit offers guaranteed performance levels in critical areas such as throughput, packet loss and latency
                                                   with 100% availability. All this supported with industry leading SLA's.



                                                   Cost Effective
                                                   With flat monthly rates as well as burstable usage (95th percentile) and volume­based billing structures
                                                   available in order to fit your requirements.

                                                   IP Transit powers your global reach by connecting your customers to the world.




    Home | Contact Us | Privacy Policy Statement                                                         © 2009 by IP Transit, Inc. All rights reserved     W3C / CSS / XML




http://www.iptransit.com/ip­transit.html                                                                                                                                      1/1
